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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

In re: Vioxx® MDL Docket No. 1657
Product Liability Litigation
SECTION L
This document relates to:
Gladys Amadis Rosario, et al. JUDGE FALLON

v.

Merck & Co., Inc. MAGISTRATE JUDGE KNOWLES

Only with regard to:
Grace Ares Moran

Docket No. 2:05-cv-06234

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FR BE RR RK REAR KEKE EERE ERE EEKE

ORDER OF DISMISSAL WITH PREJUDICE
Considering the foregoing Stipulation of Dismissal With Prejudice,
IT IS ORDERED that the claims of plaintiff Grace Ares Moran in the above-captioned
case be and they hereby are dismissed with prejudice with each party to bear his or her own

costs.

NEW ORLEANS, LOUISIANA, this day of , 2010.

DISTRICT JUDGE
